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                           UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF PENNSYLVANIA
______________________________________
                                      ) Case No.: 5:19-CV-00142-JFL
JOSHUA COULTER, RAMSEY COULTER, )
                                      )
                                      )
           Plaintiff,                 )
      vs.                             ) NOTICE OF DISMISSAL
                                      )
PENN CREDIT CORPORATION,              )
                                      )
            Defendant.                )
                                      )


       COME NOW Plaintiffs Joshua Coulter and Ramsey Coulter, by and through their

attorney of record, dismissing Defendant Penn Credit Corporation from this action WITH

prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).


Dated this 18th day of March, 2019.

                                             Respectfully Submitted,


                                             _/s/ Daniel Zemel___________
                                             Daniel Zemel Esq.
                                             Zemel Law, LLC
                                             1373 Broad St., Suite 203-C
                                             Clifton, New Jersey 07013
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                                             Email: dz@zemellawllc.com
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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 18th day of March, 2019 a true and correct copy of the foregoing

document was sent to all counsel of record in the present action by e-Service via the Courts ECF

filing system.




                                                                      _/s/ Daniel Zemel___
                                                                         Daniel Zemel
